Case 6:19-cr-00360-MJJ-PJH Document 104 Filed 01/19/22 Page 1 of 1 PageID #: 584




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                               LAFAYETTE DIVISION


 UNITED STATES OF AMERICA                      CASE NO. 6:19-CR-00360-01

 VERSUS                                        JUDGE JUNEAU

 LATORRIS CONLEY (01)                          MAGISTRATE JUDGE PATRICK J.
                                               HANNA


                                       ORDER

       Considering that defendant Latorris Conley’s previous counsel withdrew

 from the case after sentencing and that new counsel was appointed on January

 14, 2022;

       IT IS HEREBY ORDERED that pursuant to Federal Rule of Appellate

 Procedure 4(b)(4), that the defendant is granted an additional 30 days in which to

 file a notice of appeal. The Court finds that there is good cause for such an

 extension to ensure that defendant’s right to appeal is properly preserved while

 defendant transitions to new counsel.

       THUS DONE AND SIGNED in Lafayette, Louisiana on this 19th day of

 January, 2022.

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                                              MICHAEL J. JUNEAU
                                              UNITED STATES DISTRICT JUDGE
